Case 9:05-bk-04170-ALP Doc
(Official Form 1) (12/03)

1 Filed 03/09/05 Page 1 of 32

 

FORM Bi

United States Bankruptcy Court
Middle District of Florida, Fort Myers Division

Voluntary Petition

 

 

Name of Debtor (if individual, enter Last, First, Middle}:
Kelly, Joseph , Jr.

Name of Joint Debtor (Spouse) (Last, First, Middle):
Kelly, Jerri E.

 

All Other Names used by the Debtor in the last 6 years
(include married, maiden, and trade names):
None

Ail Other Names used by the Joint Debtor in the last 6 years
(include married, maiden, and trade names):
aka Jer E. Holley

aka Jerri H. Kelly

 

Last four digits of Soc.Sec.No./Complete EIN or other Tax ID No.
(if more than one, state all): 5253

Last four digits of Soc.Sec.No./Complete EIN or other Tax ID No.
(if more than one, state all): 6701

 

Street Address of Debtor (No. & Street, City, State & Zip Code):
13442 Bristol Park Way
Fort Myers, Florida 33913

Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
13442 Bristol Park Way
Fort Myers, Florida 33913

 

County of Residence or of the

Principal Place of Business: Lee

County of Residence or of the

Principal Place of Business: Lee

 

Mailing Address of Debtor (if different from street address):

 

Mailing Address of Joint Debtor (if different from street address):

 

Location of Principal Assets of Business Debtor
(if different from street address above):

Attorney: Edward R. Miller, 182746
Miller and Hollander
2430 Shadowlawn Dr. Ste. 18
Naples, FL 34112 ph: 239-775-2000

 

= 30334

Venue (Check any applicable box)

Information Regarding the Debtor (Check the Applicable Boxes)

Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

 

 

 

 

 

 

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C1 There is a bankruptcy case conceming debtor's affiliate, general partner, or partnership pending in this District.
wl Indivi dual of Debtor (Check ail aioe Chapter or Section of Bankruptcy Code Under Which
. the Petition is Filed (Check one box)
Oo Corporation C1 Stockbroker
. . CO chapter 7 Ey Chapter 11 MW Chapter 13
[] Partnership [J] Commodity Broker Cl Chapter 9 O ch 2
CO Other T] Clearing Bank o apter apter
Nature of Debts (Check one box)
Wl Consumer/Non-Business Business Filing Fee (Check one box)
{| Full Filing Fee attached
Chapter 11 Small Business (Check all boxes that apply) oO Filing Fee to be paid in installments (Applicable to individuals only)
[] Debtor is a small business as defined in 11 U.S.C. § 101 Must attach signed application for the court's consideration
F] Debtor is and elects to be considered a smail business under certifying that the debtor is unable to pay fee except in installments.
11 U.S.C. § 1121(e) (Optional) Rule 1006(b). See Official Form No. 3.

Statistical/Administrative Information (Estimates only} THIS SPACE IS FOR COURT USE ONLY

Debtor estimates that funds will be available for distribution to unsecured creditors.

Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will

be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors 1-15 16-49 50-99 100-199 200-999  1600-over

MW oF of oO FO
Estimated Assets
30 to $50,001 to $100,001 to $500,001 to = $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $l million $10 million $50 million $100 million $100 million
O O wl O C Oi O C]
Estimated Debts
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 10 $50,000,001 to More than
$50,000 $100,000 $500,000 SE million $10 million $50 million $100 million $100 million
O O Fi L C) C O O

 

 

 
(Official Form 1) (12/08 ase 9:05-bk-04170-ALP Doci1_ Filed 03/09/05 Page 2 of 32

FORM B1, Page 2

 

Voluntary Petition
{This page must be completed and filed in every case)

Name of Debtor(s):
Joseph Kelly, Jr. & Jerri E. Kelly

 

Location

Where Filed: Fort Myers, Florida

Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)

Case Number: Date Filed:

08/2001

 

Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)

 

 

 

I declare under penalty of perjury that the information provided in this
petition ts true and correct.

[If petitioner is an individual whose debts are primarily consumer debts
and has chosen to file under chapter 7] 1 am aware that I may proceed
under chapter 7, 11, 12, or 13 of title 11, United States Code, understand
the relief available under each such chapter, and choose to proceed
under chapter 7.

I request relief in accordance with the chapter of title 11, United States
Code, specified in this petition.

x Seneot, Kea,

“Ge of Debtor cu
X dew fl

Sighature of Joint Delffor

 

Telephone Number (If not represented by attorney)
3/ ¥ / o§

Date

Name of Debtor: NONE Case Number: Date Filed:
District: Relationship: Judge:
1 Exhibit A
Signature(s) of Debtor(s) (Individual/Joint) Signatures xhibi

(To be completed if debtor is required to file periodic reports

(e.g., forms 10K and 10Q) with the Securities and Exchange

Commission pursuant to Section 13 or 15(d} of the Securities
Exchange Act of 1934 and is requesting relief under chapter 11}

{| Exhibit A is attached and made a part of this petition.

 

Exhibit B

((To be completed if debtor is an individual
whose debts are primarily consumer debts)

I, the attorney for the petitioner named in the foregoing petition, declare
that I have informed the petitioner that [he or she] may proceed under
chapter 7, 11, 12, or 13 of title 11, United States Code, and have
explained the relief available under each such chapter.

-

xe eluded R . WU s/9fos”

Signature of Attomey for Debtor(s) Date

 

 

i ae of Attorney
Xrebowade UW SO
Signature of Attorney for Debtor(s)

EDWARD R. MILLER 182746
Printed Name of Attorney for Debtor(s)

Miller and Hollander

Firm Name

2430 Shadowlawn Dr. Ste. 18
Address

Naples, FL 34112

 

239-775-2000
Telephone Number

8, ek s
Date

Exhibit C
Does the debtor own or have possession of any property that poses
or is alleged to pose a threat of imminent and identifiable harm to
public health or safety?
[] Yes, and Exhibit C is attached and made a part of this petition.

TY No

 

Signature of Non-Attorney Petition Preparer

1 certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.
§ 110, that I prepared this document for compensation, and that I have
provided the debtor with a copy of this document.

 

Printed Name of Bankruptcy Petition Preparer

 

Socia! Security Number (Required by 11 U.S.C. § 110{c).}

 

Address

 

Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this
petition on behalf of the debtor.
The debtor requests relief in accordance with the chapter of title 11,
United States Code, specified in this petition.

x

Signature of Authorized Individual

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Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

 

Names and Social Security numbers of all other individuals who
prepared or assisted in preparing this document:

If more than one person prepared this document, attach
additional sheets conforming to the appropriate official form for
each person.

x

Signature of Bankruptcy Petition Preparer

 

Date

A bankruptcy petition preparer’s failure to cormply with the provisions
of title 11 and the Federal Rules of Bankruptcy Procedure may result
in fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

 

 

 
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UNITED STATES BANKRUPTCY COURT
Middle District of Florida, Fort Myers Division

Inre Joseph Kelly, Jr. & Jerri E. Kelly

 

Debtor Case No.

 

13

 

Chapter

Voluntary Petition Continuation Sheet

 

 

Prior Bankruptcy Case Filed Within Last 6 Years

Location ; Case Number: Date Filed:
Where Filed: Fort Myers, Florida 10/2001

 

 
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FORM B6 - Cont.
(6/90)

United States Bankruptcy Court

Middle District of Florida, Fort Myers Division

Joseph Kelly, Jr. & Jerri E. Kelly
In re Case No.

Debtor (If known)

 

 

SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D,
E, F, |, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the
amounts from Schedules D, £, and F to determine the total amount of the debtor's liabilities.

 

 

 

 
 
 
 

 

   

 

 

 

 
 
 

 

 
 
 

 

 

    

 

 

 

 

 

 

 

 

AMOUNTS SCHEDULED
ATTACHEB
NAME OF SCHEDULE CYES/NO} NO. OF SHEETS ASSETS LIABILITIES OTHER
A - Real Property YES 1 $ 153,090.00
B - Personal Property YES 4 46,568.00
C - Property Claimed YES 2
As Exempt
D - Creditors Holding YES 2 292,937.00
Secured Claims
E - Creditors Holding Unsecured YES 2 1,170.00
Priority Claims
F - Creditors Holding Unsecured YES 2 10,942.00
Nonpriority Claims
G - Executery Contracts and YES 1
Unexpired Leases
H - Codebtors YES 1
| - Current Income of YES 1
Individual Debtor(s)
J - Current Expenditures of YES 1
individual Debtor(s)
Total Number of Sheets 17
in ALL Schedules »

 

 

199,658.00

 
 

Total Assets b>

 

 

 

Total Liabilities » 305,049.00

 

 

 
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FORM BGA
(6/80)

Joseph Kelly, Jr. & Jerri E. Kelly

In re Case No.
Debtor (if known}

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future inierest,
including all property owned as a co-tenant, community property, or in which the debtor has a life estate. Include any
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. If the debtor is married,
state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C"™ in the column labeled
"Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write "None" under "Description
and Location of Property.”

 

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G -
Executory Contracts and Unexpired Leases.

if an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim.
See Schedule D. If no entity claims to held a secured interest in the property, write "None" in the column labeled
"Amount of Secured Claim.”

lf the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property
only in Schedule C - Property Claimed as Exempt.

 

 

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5 CURRENT
o> MARKET VALUE
ui OF DEBTOR'S
DESCRIPTION AND Le INTEREST IN AMOUNT OF
LOCATION OF NATURE OF DEBTOR'S z5 PROPERTY WITHOUT SECURED
PROPERTY INTEREST IN PROPERTY | 99 DEDUCTING ANY CLAIM
Fans SECURED CLAIM
ao OR EXEMPTION
=
Homestead Property, see Exhibit "1" Joint Tenancy J 153,090.00 227,210.00
attached hereto
Total > 153,090.00

 

 

 

{Report also on Summary of Schedules)
Case 9:05-bk-04170-ALP Doc1 Filed 03/09/05 Page 6 of 32

me

Lot 104, CYPRESS CAY, according to the plat thereof recorded in Plat Book.
71, Pages 5 to 9, Public Records of Lee County, Florida
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FORM B6B
(109) joseph Kelly, Jr. & Jerri E. Kelly
In re Case No.

 

 

Debtor (if known)

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, jist all personal property of the debtor of whatever kind. If the debtor has no property in
one or more of the categories, place an "X" in the appropriate position in the column labeled "None." If additional
space is needed in any category, attach a separate sheet properly identified with the case name, case number, and
the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W,""J," or"C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a
joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-
Executory Contracts and Unexpired Leases.

lf the property is being held for the debtor by someone else, state that person’s name and address under
"Description and Location of Property."

 

 

E CURRENT
SF MARKET VALUE OF
w DESCRIPTION AND LOCATION we DEBTOR'S INTEREST
z “>
TYPE OF PROPERTY 2 OF PROPERTY =2 IN PROPERTY WITH-
a8 OUT DEDUCTING ANY
as SECURED CLAIM
2 OR EXEMPTION
1. Cash on hand. Cash J 50.00
2. Checking, savings or other financial Money in Bank J 100.00
accounts, certificates of deposit, or
shares in banks, savings and joan,
thrift, building and loan, and homestead
associations, or credit unions,
brokerage houses, or cooperatives.
3. Security deposits with public x
utilities, telephone companies,
landlords, and others.
4, Household goods and furnishings, washer $75, dryer $75, kitchen J 362.00
including audio, video, and computer table $15, 2 couches $60, 4
equipment. ' '
awe lamps $20, 3 beds $90,
microwave $15, telephone $10, 2
clocks $2
Freezer $30, electric range J 390.00
$50, refrigerator $100, 4
chairs $20, 2 end tables $10, 2
easy chairs $20, 2 televisions
$100, dresser $30, lawn mower
$10, VCR/DVD $15, clock radio
$5

 

 

 

 

 

 

 
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FORM B&B
(10/89)

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Joseph Kelly, Jr.
In re

& Jerri E. Kelly

Case No.

 

Debtor

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

(if known)

 

TYPE OF PROPERTY

NONE

DESCRIPTION AND LOCATION
OF PROPERTY

HUSBAND, WIFE, JOINT
OR COMMUNITY

CURRENT
MARKET VALUE OF
DEBTOR'S INTEREST
IN PROPERTY WITH-
OUT DEDUCTING ANY
SECURED CLAIM
OR EXEMPTION

 

 

5. Books. Pictures and other art
objects, antiques, stamp, coin, record,
tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.

7. Furs and jewelry.

8, Firearms and sports, photographic,
and other hobby equipment.

3. Interests in insurance policies.
Name insurance company of each
policy and itemize surrender or refund
value of each.

10, Annuities. Itemize and name each
issuer.

1f. Interests in IRA, ERISA, Keogh, or
other pension or profit sharing plans.
Iternize,

12. Stock and Interests in Incorporated
and unincorporated businesses.
itemize.

13. Interests in partnerships or joint
ventures. Itemize.

14. Government and corporate bonds
and other negotiable and
non-negotiable instruments.

16. Accounts receivable.

16. Alimony, maintenance, support, and
Property settlement to which the debtor
Is or may be entitled. Give particulars.

47. Other liquidated debts owing debtor
Inciuding tax refunds. Give particulars,

 

 

Misc Books and Pictures

Misc Wearing apparel

Misc Costume Jewelry

Handgun, miscellaneous gun
parts & misc. sports and hobby

Life Insurance - Value unknown

Two (2) Florida Retirement
Systems Pensions

 

G

 

50.00

75.00

200.00

150.00

Unknown

Unknown

 

 
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FORM B6B
(10/89)

Joseph Kelly, Jr.

In re

& Jerri E. Kelly

 

Debtor

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

Gase No,

 

(if known)

 

TYPE OF PROPERTY

NONE

DESCRIPTION AND LOCATION
OF PROPERTY

HUSBAND, WIFE, JOINT
OR COMMUNITY

CURRENT
MARKET VALUE OF
DEBTOR'S INTEREST
IN PROPERTY WITH-
OUT DEBUCTING ANY
SECURED CLAIM
OR EXEMPTION

 

418, Equitable or future interests, tife
estates, and rights or powers
exercisable for the benefit of the debtor
other than those listed in Schedule of
Real Property.

19. Contingent and noncontingent
interests In estate or a decedent, death
benefit plan, life insurance policy, or
trust.

20. Other contingent and unliquidated
claims of every nature, including tax
refunds, counterclalms of the debtor,
and rights of setoff claims. Give
estimated value of each.

21. Patents, copyrights, and other
intellectual property. Give particulars.

22, Licenses, franchises, and other
general intangibles, Give particulars.

23. Automobiles, trucks, trailers, and
other vehicles and accessories,

24, Boats, motors, and accessories.
25, Aircraft and accesscries.

26, Office equipment, furnishings, and
supplies.

27. Machinery, fixtures, equipment, and
supplies used in business.

28. Inventory.

23. Animals.

30. Crops - growing or harvested. Give
particulars.

34. Farming equipment and
Implements.

 

 

 

2003 Nissan Murano 2WD SL,
25,0CG0 miles

2004 Dodge Ram 1500 Quad Cab
SLT Trim, 4WD, 22,000 miles

Computer

2 dogs & 1 gerbil

 

 

20,400.00

24,675.00

100.00

15.00

 

 
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FORM B6B
(10/89) .
Joseph Kelly, Jr. & Jerri E. Kelly
Inre Case No.
Debtor (if known)

SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)

 

 

 

 

 

 

 

 

2 CURRENT
SF MARKET VALUE OF
uy DESCRIPTION AND LOCATION ie DEBTOR'S INTEREST
z2 io
TYPE OF PROPERTY 2 OF PROPERTY == IN PROPERTY WITH-
28 OUT DEDUCTING ANY
ae SECURED CLAIM
2 OR EXEMPTION
32. Farm supplies, chemicals, and feed. x
33. Other personal property of any kind Personal Papers J 1.00
not already listed.
0
continuation sheets attached Total * 1 § 46,568.00

 

 

 

(Include amounts from any continuation
sheets attached. Report total also on
Summary of Schedules)
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FORM Bé6C
(6/90) Joseph Kelly, Jr. & Jerri E. Kelly
Inve Case Na
Debtor {if known}

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor elects the exemption fo which debtor is entitled under

(Check one box}
L] 11 U.S.C. §522(b)(1) Exemptions provided in 11 U.S.C. §522(d). Note: These exemptions are available only in certain states.

[YI 17 U.S.C. §522(b)(2) Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile
has been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the
180-day period than in any other place, and the debtor's interest as a tenant by the entirety or joint tenant to the
extent the interest is exempt from process under applicable nonbankruptcy law.

 

 

SPECIFY LAW VALUE OF Value on Poor eR TY
DESCRIPTION OF PROPERTY PROVIDING EACH CLAIMED WITHOUT DEDUCTING
EXEMPTION EXEMPTION EXEMPTIONS
Homestead Property, see Art. X, Sec. 4 Fla. 153,090.00 153,090.00
Exhibit "1" attached hereto Const.
Cash Art. K, Sec. 4 Fla. 50.006 50.00
Const.
Money in Bank Art. X, Sec. 4 Fila. 109.00 100.00
Const.
washer $75, dryer $75, Art. X, Sec. 4 Pla. 362.00 362.00
kitchen table $15, 2 Const.
couches $60, 4 lamps $20, 3
beds $90, microwave $15,
telephone $10, 2 clocks $2
Freezer $30, electric range Art. K, Sec. 4 Fla. 390.00 390.00
$50, refrigerator $100, 4 Const.
chairs $20, 2 end tables
$10, 2 easy chairs $20, 2
televisions $100, dresser
$30, lawn mower $10,
VCR/DVD $15, clock radio $5
Misc Books and Pictures Art. KX, Sec. 4 Fla. 50.00 590.00
Const.
Misc Wearing apparel Art. X, Sec. 4 Fla. 75.00 75.00
Const.
Misc Costume Jewelry Art. X, Sec. 4 Fla. 200.00 200.00
Const.
Handgun, misceilaneous gun Art. X, Sec. 4 Fla. 150.00 150.00
parts & misc. sports and Const.
hobby
Life Insurance + Value Sec. 222.13 and Sec. Unknown Unknown
unknown 222.14 FS

 

 

 

 

 

 
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FORM B6C
(6/90)
Jr.

Joseph Kelly, & Jerri E. Kelly

In re Case Na

 

Debtor

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
(Continuation Page)

(if known)

 

 

SPECIFY LAW VALUE OF VALUE OF PRONERTY
DESCRIPTION OF PROPERTY PROVIDING EACH CLAIMED WITHOUT DEDUCTING
EXEMPTION EXEMPTION EXEMPTIONS
Two (2) Florida Sec. 222.14 FS, 11 Unknown Unknown
Retirement Systems USC Sec.
Pensions 522{d) (10) (£) made
applicabie by Sec.
222.201 FS &
§222.21 FS
Sec. 222.21(2) FS Unknown
Computer Art. ZX, Sec. 4 Fla. 100.00 100.00
Const.
2 dogs & 1 gerbil Art. X, Sec. 4 Fla. 15.00 15.00
Const.
Personal Papers Art. KX, Sec. 4 Fla. 1.00 1.00

Const.

 

 

 

 

 

 
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Form B6D
(12/03)

Joseph Keily, Jr. & Jerri E. Kelly

In re Case No.

 

 

Debtor (if known)

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code and last four digits of any account number of ail entities holding claims secured
by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests, List creditors in alphabetical order
to the extent practicable. If all secured creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled “Codebtor,"
incinde the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
husband, wife, both of them, or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled
"Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is
unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
may need to place an "X" in more than one of these three columns.)

Report the total ofall claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also
on the Summary of Schedules.

Ci Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

e AMOUNT
CREDITOR’S NAME «|SE]  DATECLAIMWASINCURRED, | 5 Bl OF
‘S NAME, ; , =
MAILING ADDRESS K|Es NATURE OF LIEN, AND olale Od UNSECURED
INCLUDING ZIP CODE m6 DESCRIPTION AND MARKET | 2|&| 5] WITHOUT PORTION,
ales VALUE OF PROPERTY =| S| a| DEDUCTING IF ANY
AND ACCOUNT NUMBER 6/28 zl | = VALUE OF
(Sce instructions above.) o|86 SUBJECT TO LIEN ST2|e
2 oO g COLLATERAL
ACCOUNT NO. 1910695062 Incurred: 2003
: : 8,292.00
. . Lien: Lien on 2004
Chrysler Financial
Dodge Ram
P.O. Box 55000 J 32,967.00
Dept. 277001
Detroit, MI 48255-2770
VALUE $ 24,675.00
ACCOUNT NO. :
—— liens Piest: Mort age 28,577.00
Countrywide Home Loan , gag
P.O. Box 660694 J 181,667.00
Dallas, TX 75266-0694
VALUE $ 153,090.00
ACCOUNT NO.038120001 Incurred: 2004
Lien: Second Mortgage
Countrywide Home Loan * Jeg
P.O. Box 660694 J 45,544.00 0.00
Dallas, TX 75266-0694
VALUE $ 153,090.00
ACCOUNT NO. Lien: Tax Lien on
homestead
Lee County Tax Coilector
P.O. Box 1609 J 3,065.00 0.00
Fort Myers, FL 33902
VALUE $ 153,090.00
Subtotal
1 continuation sheets attached (Total ofthis. ee 863 243.00
Total | $
(Use only on last page)

(Report total also on Summary of Schedules)

 
- 30334

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Form B6D - Cont.
(12/03)

Joseph Kelly, Jr.
In re

& Jerri =. Kelly

 

Debtor

Case No.

 

(EH known)

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

z . a AMOUNT
CREDITOR’S NAME, & Re DATE CLAIM WAS INCURRED, | & ill OF
MAILING ADDRESS &| & g NATURE OF LIEN, AND P< CLAIM UNSECURED
INCLUDING ZIP CODE, fa) 2S DESCRIPTION AND MARKET |Z, &]5| WITHOUT PORTION,
AND ACCOUNT NUMBER a BS VALUE OF PROPERTY = = ee DEDUCTING IF ANY
(See instructions above.) o = & SUBJECT TO LIEN 5 5 a VALUE OF
o COLLATERAL
E é

ACCOUNT NO. 7 1.1.41406440550 Incurred: 2003 9,294.00

Lien: Lien on 2003 ' .
TIB Bank of the Keys Nissan
P.O. Box 61039 a 29,694.00
Fort Myers, FL 33906

VALUE $ 20,400.00
ACCOUNT NO.

VALUE $
ACCOUNT NO.

VALUE §$
ACCOUNT NO,

VALUE$
ACCOUNT NO.

VALUE $
Sheet no. 1 of _1 continuation sheets attached to Schedule of Creditors Sub >

— total 2
Holding Secured Claims (Total of this page) $ 29 7 694-00
>
Total * | 292,937.00

(Use only on last page)

 

 

 

(Report total also on Summary of Schedules)

 
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Case 9:05-bk-04170-ALP Doc1 Filed 03/09/05 Page 15 of 32

Farm B&D - Cont.
(12/03)

Joseph Kelly, Jr.
In re

& Jerri BE. Kelly

 

Debtor

Case No.

 

(if known)

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Continuation Sheet)
g - AMOUNT
CREDITOR’S NAME, S| SE] DATE CLAIMWASINCURRED, | 2] ©] 4 OF
MAILING ADDRESS eye é NATURE OF LIEN, AND | <| = CLAIM UNSECURED
INCLUDING ZIP CODE, mj 2s DESCRIPTION AND MARKET | 2/2/55] WITHOUT PORTION,
AND ACCOUNT NUMBER a z g VALUE OF PROPERTY Be 3 & BEDUCTING IF ANY
(See instructions above.) O| z = SUBJECT TO LIEN 5 = a VALUE OF
3 OZ COLLATERAL
=
ACCOUNT NO. Tr. 141406440550 Incurred: 9. 294.00
Lien: Lien on 2003 ' ,
TIB Bank of the Keys Nissan
P.O. Box 61039 a 29,694.00
Fort Myers, FL 33906
VALUE $ 20,400.00
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE $
ACCOUNT NO,
VALUE $
Sheet no. 2 of _1 continuation sheets attached to Schedule of Creditors Subtotal  |$ 29. 694.00
Holding Secured Claims (Total of this page} . -
>
Total © | $92,937.00

(Use only on last page)

 

 

 

(Report total alse on Summary of Schedules)

 
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Case 9:05-bk-04170-ALP Doc1 Filed 03/09/05 Page 16 of 32

Form B6E
(04/04)

InreYOSeph Kelly, Jr. & Jerri E. Kelly , Case No.
Debtor Gf known)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
property of the debtor, as of the date of the filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. Ifa joint petition is filed, state whether husband, wife, both
of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

If the claim is contingent, place an "X" in the column jabeled "Contingent." If the claim is unliquidated, place an "X" in the column jabeled
"Untiquidated."” Ifthe claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of
these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet, Report the total of all claims listed on this
Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

[-}] Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
| Extensions of credit in an involuntary case
Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

CI Wages, salaries, and commissions

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
qualifying independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the original petition,
or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 5307(a)(3).

["] Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or
the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

[| Certain farmers and fishermen
Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 307(a)}(5).

[_] Deposits by individuals

Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
use, that were not delivered or provided. 11 U.S.C. § 507(a)}(6).

CL] Alimony, Maintenance, or Support

Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C. §
507(a)(7).

rd Taxes and Certain Other Debts Owed to Governmental Units
Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

L] Commitments to Maintain the Capital of an Insured Depository Institution

Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
U.S.C. § 507 (a}(9).

* Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
1_ continuation sheets attached
- 30334

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Case 9:05-bk-04170-ALP Doc1 Filed 03/09/05 Page 17 of 32

Form 86E - Cont.
{4/04)

Joseph Kelly, Jr.

In re

& Jerri BE. Kelly

 

Debtor

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

(Continuation Sheet)

; Case No.

 

(If known}

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Taxes & Debts to Governments
TYPE OF PRIORITY
’ a ° ~ BIA
CREDITOR’S NAME, Oo] 5 DATE CLAIM WAS INCURRED z z a
MAILING ADDRESS Bq & 6 AND CONSIDERATION FOR 8 = a AMOUNT AMOUNT
INCLUDING ZIP CODE, Bl 2S CLAIM z|2i5 OF ENTITLED TO
AND ACCOUNT NUMBER a Z8 ELS/a CLAIM PRIORITY
(See instructions above.) O,as 55a
5 o/2
ACCOUNT NO. Incurred: 2003
Internal Revenue Service
SPF-Bankruptcy J 1,170.90 4,170.90
PO Box 17167 STOP 5730
Fort Lauderdale FL 33318
ACCOUNT NO.
ACCOUNT NO.
ACCOUNT NO.
ACCOUNT NO.
Sheet no. of _+ continuation sheets attached to Schedule of Credit
eet no —? —oon Inuation sneets alfacned to schedule ©) Teditors Subtotal 7 $ 1,170.00
Holding Priority Claims (Total of this page)
Total » | $
(Use only on last page of the completed Schedule E.) 1,170.00

 

 

 

{Report total also on Summary of Schedules)
- 30334

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Case 9:05-bk-04170-ALP Doc1 Filed 03/09/05 Page 18 of 32

Form BOF (12/03)

Inre 20S¢ph Kelly, Jr. & Jerri E. Kelly . Case No.

Debtor df known}

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims
without priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in
Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

 

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled “Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. Ifa joint petition is filed, state whether husband, wife, both of
them, or the marital community maybe liable on each claim by placing an "H," "W," "J," or "C" in the column labeled “Husband, Wife, Joint, or
Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." Ifthe claim is unliquidated, place an '"X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these
three columns.}

Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also
on the Summary of Schedules.

{_] Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

H
& a
9 i
CREDITOR’S NAME, 4 SE DATE CLAIM WAS INCURRED AND Z 5 21 amount
MAILING ADDRESS = a 5 CONSIDERATION FOR CLAIM. o a = OF
INCLUDING ZIP CODE, a ae IF CLAIM IS SUBJECT TO SETOFFE, & 5 2 CLAIM
AND ACCOUNT NUMBER B 4 g SO STATE. E gS a
(See instructions above.) o a ° 8 Z
i
ACCOUNT NO. 4862-3623-8198-2795
Capitol One Bank
P.O. Box 650007 519.00
Dallas, TX 75266-0007
ACCOUNT NO. 5178052265938957
Capitol One Bank
P.O. Box 650007 259.00
Dallas, TX 75266-0007
ACCOUNT NO. 4862362504297675
Capitol One Bank
P.O. Box 650007 84.00
Dallas, TX 75266-0007
ACCOUNTNO. 819-2410-002247-4
Lowes
PO Box 105980 460.00
Dept 79
Atlanta GA 30353-5980
>
continuation sheets attached (Total opubto tae) $ 1,322.00
Total $
(Use only on last page)

{Report total also on Summary of Schedules)
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Form BéF - Cont.
fF 2/03)

Joseph Kelly, Jr. & Jerri E. Kelly

In re
Debtor

5 Case No.

 

Of known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDITOR’S NAME,
MAILING ADDRESS
INCLUDING ZIP CODE,
AND ACCOUNT NUMBER

DATE CLAIM WAS INCURRED AND
CONSIDERATION FOR CLAIM.
IF CLAIM IS SUBJECT TO SETOFF,

AMOUNT
OF
CLAIM

(See instructions above.)

CODEBTOR
HUSBAND, WIFE, JOINT
ORCOMMUNITY
CONTINGENT
UNLIQUIDATED
DISPUTED

 

ACCOUNTNO. §489555111229995

 

Orchard Bank Household Credit

Services 326.00
P O Box 80084

Salinas, CA 93912-0084

 

ACCOUNT NO. [].-141406440550

 

TIB Bank of the Keys
P.O. Box 61039 9,294.00
Fort Myers, FL 33906

 

ACCOUNT NO.

 

 

ACCOUNT NO.

 

 

ACCOUNT NO.

 

 

 

 

 

 

 

 

 

Sheetno. I of continuation sheets attached to Schedule of Creditors Subtotal? | $ 9 620.00
Creditors Holding Unsecured Nonpriority Claims (Total of this page) _—

Total® | $ 10,942.00
(Use only on last page of the completed Schedule F.) ;

 

 

 

(Report total also on Summary of Schedules)
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Case 9:05-bk-04170-ALP Doc1 Filed 03/09/05 Page 20 of 32

FORM B8G

(1089) Joseph Kelly, Jr. & Jerri B. Kelly

In se Case No.
Debtor (if known}

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any
timeshare interests.

 

State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or
lessee of a iease.

Provide the names and complete mailing addresses of all other parties to each lease or contract described.

NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the partyis also
scheduled in the appropriate schedule of creditors.

ri Check this box if debtor has no executory contracts or unexpired leases.

 

DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF

NAME AND MAILING ADDRESS, INCLUDING ZIP CODE DEBTOR'S INTEREST, STATE WHETHER LEASE !S FOR
OF OTHER PARTIES TO LEASE OR CONTRACT NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT

NUMBER OF ANY GOVERNMENT CONTRACT

 

 

 

 

 
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Case 9:05-bk-04170-ALP Doc1 Filed 03/09/05 Page 21 of 32

FORM B6H
(6/90)
Joseph Kelly, Jr. & Jerri E. Kelly

In re Case No,
Debtor (if known)

 

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also
liable on any debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. In community
property states, a married debtor not filing a joint case should report the name and address of the nondebtor spouse
on this schedule. Include all names used by the nondebtor spouse during the six years immediately preceding the
commencement of this case.

vI Check this box if debtor has no codebiors.

 

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

 

 

 

 

 
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Official Form 6-Cont.

 

 

 

12/03)
Joseph Kelly, Jr. & Jerri E. Kelly
In re 5 Case No.
Debtor (If known)
DECLARATION CONCERNING DEBTOR'S SCHEDULES
DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
i dectare under penalty of perjury that | have read the foregoing summary and schedules, consisting of 17
sheets and that they are true and correct to the best of my knowledge, information and belief. (Total shown on summary page plus 1)

Date fof os Signature Sracyl, Ke ce HS
Date 3/9/ os Signature fs. £ ke (obis

(ointHebtor, if any}

[If joint case, both spouses must sign]

CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I certify that 1 am a bankruptcy petition preparer as defined in 11 U-S.C.§110, that I prepared this document for compensation, and that I have provided the debtor
with a copy of this document.

 

 

Printed or Typed Name of Bankruptcy Petition Preparer Social Security No.
(Required by 11 U.S.C. § 110(c).)

 

 

Address
Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

x
Signature of Bankruptcy Petition Preparer Date

x 4 bankrupicy petition preparer's failure to comply with the provisions of title HH! and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C.

Bankruptey2004 O1991-

SF 110; (USC. §156.
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Form 7

 

 

{22/03} FORM 7. STAFEMENT OF FINANCIAL AFFAIRS
UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION
InRe Joseph Kelly, Jr. & Jerri E. Kelly Case No.
(Name) (if known)
Debtor

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on
which the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor
must furnish information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or
self-employed professional, should provide the information requested on this statement concerning all such activities as
well as the individual's personal affairs.

Questions | - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below,
also must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case
name, case number (if known), and the number of the question.

DEFINITIONS

"In business.” A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within the six years immediately
preceding the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5
percent or more of the voting or equity securities of a corporation; a parmer, other than a limited partner, of a partnership;
a sole proprietor or selfemployed.

“Insider. The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any
owner of 5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the
debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

 

i. Income from employment or operation of business

None State the gross amount of income the debtor has received from employment, trade, or profession, or from

[| operation of the debtor's business from the beginning of this calendar year to the date this case was commenced,
State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor
that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report
fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year) Ifa joint petition is filed,
state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state
income of b oth spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

AMOUNT SOURCE (if more than one)

2005(db) 4,722 Wages
- 30334

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AMOUNT SOURCE (if more than one)

2004(db} 65,727 Wages
2003(db) 76,451 Wages

AMOUNT SOURCE (if more than one)

2005(jdb) 2,680 Wages
2004(jdb) 33,899 Wages

2003(jdb) 36,045 Wages

 

None

2. Income other than from employment or operation of business

State the amount of income received by the debtor other than from employment, trade, profession, or operation
of the debtor's business during the two years immediately preceding the commencement of this case. Give
particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under
chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

 

3. Payments to Creditors

None a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more

C] than $600 to any creditor, made within 90 days immediately preceding the commencement of this case. (Married
debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT AMOUNT STILL

PAYMENTS PAID OWING

Countrywide Home Loan (1st monthly 1,092 181,667

mortgage}

P.O. Box 660694

Dallas, TX 75266-0694

Countrywide Home Loan (2nd monthly 460 45,544

mortgage)

P.O. Box 660694

Dallas, TX 75266-0694

TIB Bank of the Keys monthly 623 29,694

P.O. Box 61039

Fort Myers, FL 33906

Chrysler Financial monthly 785 32,967

P.O. Box 55000
Dept. 277001

Detroit, MI 48255-2770
- 30334

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None b. List all payments made within one year immediately preceding the commencement of this case to or for the

Pd] benefit of creditors, who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.}

NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT PAID AMOUNT STILL
AND RELATIONSHIP TO DEBTOR PAYMENTS OWING

 

4. Suits and administrative proceedings, executions, garnishments and attachments

None a. List all suits and administrative proceedings to which the debtor is or was a party within one year
he immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13

must include information conceming either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT NATURE OF PROCEEDING COURT OR STATUS OR
AND CASE NUMBER AGENCY AND LOCATION DISPOSITION

 

None b. Describe all property that has been attached, garnished or seized under any legal or equitable process

hx within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
or chapter 13 must include information conceming property of either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF DATE OF DESCRIPTION AND
PERSON FOR WHOSE BENEFIT SEIZURE VALUE OF PROPERTY
PROPERTY WAS SEIZED

 

§. Repossessions, foreclosures and returns

None List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
i] lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this
case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition

is not filed.)
NAME AND DATE OF REPOSESSION, DESCRIPTION AND
ADDRESS OF FORECLOSURE SALE, VALUE OF PROPERTY
CREDITOR OR SELLER TRANSFER OR RETURN
= 30334

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6. Assignments and Receiverships

None a. Describe any assignment of property for the benefit of creditors made within 120 days immediately
ix preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include

any assignment by either or beth spouses whether or not a joint petition is filed, unless the spouses are separated
and a joint petition is not filed.)

 

NAME AND DATE OF ASSIGNMENT TERMS OF
ADDRESS ASSIGNMENT
OF ASSIGNEE OR SETTLEMENT
None b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within
Xi one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or

chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
is filed, unless the spouses are separated and a joint petition is not filed.)

 

NAME AND NAME AND LOCATION DATE OF DESCRIPTION AND
ADDRESS OF COURT CASE TITLE ORDER VALUE OF PROPERTY
OF CUSTODIAN & NUMBER,
7. Gifts

None List all gifts or charitable contributions made within one year immediately preceding the commencement of this

Dx] case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual
family member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing
under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

NAME AND RELATIONSHIP DATE OF DESCRIPTION AND
ADDRESS OF TO DEBTOR, IF ANY GIFT VALUE OF GIFT
/ PERSON OR ORGANIZATION
8. Losses

None List all losses from fire, theft, other casualty or gambling within one year immediately preceding the

hx commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12
or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

DESCRIPTION DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS DATE OF
AND VALUE WAS COVERED IN WHOLE OR IN PART BY LOSS
OF PROPERTY INSURANCE, GIVE PARTICULARS
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9, Payments related te debt counseling or bankruptcy

None List all payments made or property transferred by or on behalf of the debtor to any persons, including attomeys,
[i for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
bankruptcy within one year immediately preceding the commencement of this case.

NAME AND ADDRESS DATE OF PAYMENT, AMOUNT OF MONEY OR
OF PAYEE NAME OF PAYOR IF DESCRIPTION AND
OTHER THAN DEBTOR VALUE OF PROPERTY
Edward R. Miller 2/04/2005 $1,500
Miller and Hollander

2430 Shadowlawn Dr. Ste. 18
Naples, FL 34112

 

10. Other transfers

None List all other property, other than property transferred in the ordinary course of the business or financial affairs
i of the debtor, transferred either absolutely or as security within one year immediately preceding the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition

is not filed.)
NAME AND ADDRESS OF TRANSFEREE, DATE DESCRIBE PROPERTY
RELATIONSHIP TO DEBTOR TRANSFERRED AND

VALUE RECEIVED

 

11. Closed financial accounts

None List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which

Rx] were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this
case, Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares
and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and
other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
concerning accounts or instruments held by either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

NAME AND TYPE OF ACCOUNT, LAST FOUR AMOUNT AND
ADDRESS DIGITS OF ACCOUNT NUMBER, DATE OF SALE
OF INSTITUTION AND AMOUNT OF FINAL BALANCE OR CLOSING
- 30334

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12. Safe deposit boxes

None List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other

<1] valuables within one year immediately preceding the commencement ofthis case. (Married debtors filing
under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

NAME AND NAMES AND ADDRESSES OF DESCRIPTION OF DATE OF
ADDRESS OF BANK THOSE WITH ACCESS TO BOX CONTENTS TRANSFER OR
OR OTHER DEPOSITORY OR DEPOSITORY SURRENDER, IF ANY

13. Setoffs

None List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days

[ preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATE AMOUNT
OF OF
SETOFF SETOFF

 

14, Property held for anether person

None List all property owned by another person that the debtor holds or controls.

 

bx
NAME AND DESCRIPTION AND LOCATION OF PROPERTY
ADDRESS OF OWNER VALUE OF PROPERTY
15. Prior actdress of debtor
None
| If the debtor has moved within the two years immediately preceding the commencement of this case, list all
premises which the debtor occupied during that period and vacated prior to the commencement of this case. Ifa
joint petition is filed, report also any separate address of either spouse.
ADDRESS NAME USED DATES OF OCCUPANCY
11490 Villa Grand #203 Joseph Kelly 3/15/2003 ta 9/27/2003
Fort Myers, FL 33913
18710 Spruce Drive East Joseph Kelly 7/01/1999 to 3/15/2003
Fort Myers, FL 33912
+ 30334

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16. Spouses and Former Spouses

None

Be] If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
within the six-year period immediately preceding the commencement of the case, identify the name of the
debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

NAME

 

17. Environmental Sites
For the purpose of this question, the following definitions apply:

"Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater,
or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
wastes, or material.

"Site" means any location, facility, or property as defined under any Environmental Law, whether or
not presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

"Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, or contaminant or similar term under an Environmental Law

 

ee a. List the name and address of every site for which the debtor has received notice in writing by a governmental

NS
A unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
governmental unit, the date of the notice, and, if known, the Environmental Law:

SITE NAME NAME AND ADDRESS DATE OF ENVIRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

 

b. List the name and address ofevery site for which the debtor provided notice to a governmental unit of a
release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

None
x
SITE NAME NAME AND ADDRESS DATE OF ENVIRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

 

c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is
None _or was a party to the proceeding, and the docket number.

bx

NAME AND ADDRESS DOCKET NUMBER STATUS OR DISPOSITION
OF GOVERNMENTAL UNIT
Bankmuptcy2004 ©1991-2004, New Hape Software, Inc., ver. 3,8.0-632 - 30334

Date

Date

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18. Nature, [ocation and name ef business

 

None a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the

BJ businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
partner, or managing executive of a corporation, partnership, sole proprietorship, or was 2 self-employed
professional within the six years immediately preceding the commencement of this case, or in which the debtor
owned 5 percent or more of the voting or equity securities within the six years immediately preceding the
commencement of this case.

If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature
of the businesses, and beginning and ending dates of all businesses in which the debtor was a partner
or owned 5 percent or more of the voting or equity securities, within the six years immediately
preceding the commencement of this case.

If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of
the businesses, and beginning and ending dates of all businesses in which the debtor was a partner or
owned 5 percent or more of the voting or equity securities within the six years immediately preceding
the commencement of this case.

NAME TAXPAYER ADDRESS NATURE OF BUSINESS BEGINNING AND

LD. NO. (EIN) ENDING DATES

b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in
11 U.S.C. § 101.
None

NAME ADDRESS

[Questions 19 - 25 are not applicable to this case]

* * * * * *

{if campleted by an individual or individual and spouse]

I declare under penalty of perjury that ] have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto and that they are true and correct.

3/ of 0” Signature Seale Ke ef? AY

of Debtor AO EPH KELLY, RK) C/

3/ of os” Signature Gus E kel,

of Joint Debtor GERRI E. KELLY
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Capitol One Bank
P.O. Box 650007
Dallas, TX 75266-0007

Chrysler Financial
P.O. Box 55000

Dept. 277001

Detroit, MI 48255-2770

Internal Revenue Service
SPF-Bankruptcy

PO Box 17167 STOP 5730
Fort Lauderdale FL 33318

Orchard Bank Household Credit
Services

P O Box 80084

Salinas, CA 93912-0084

Capitol One Bank
P.O. Box 650007
Dallas, TX 75266-0007

Countrywide Home Loan
P.O. Box 660694
Dallas, TX 75266-0694

Lee County Tax Collector
P.O. Box 1609
Fort Myers, FL 33902

TIB Bank of the Keys
P.O, Box 61039
Fort Myers, FL 33906

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Capitol One Bank
P.O. Box 650007
Dallas, TX
75266-0007

Countrywide Home
Loan

P.O. Box 660694
Dallas, TX
75266-0694

Lowes

PO Box 105980
Dept 79
Atlanta GA
30353-5980

TIB Bank of the Keys
P.O. Box 61039
Fort Myers, FL 33906
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UNITED STATES BANKRUPTCY COURT
Middle District of Florida, Fort Myers Division

In re:

Joseph Kelly, Jr. & Jerri E. Kelly Case No.
Chapter 13

Debtor(s}

APPEARANCE AND COMPENSATION STATEMENT OF ATTORNEYS FOR THE DEBTOR(S)

1. The undersigned is the attorney for the debtor(s) in this case and hereby enters the

appearance of Edward R. Miller and Richard J. Hollander of Miller and Hollander, as attorneys for
the debtor.

2. _ The total compensation promised the firm of Miller and Hollander by the debtor(s) for the
services rendered or to be rendered in connection with this case is $1,500.00 plus a filing fee of
$194.00; an additional $350.00 per hour, plus costs, is agreed to be paid for any adversary
proceedings, motions or hearings other than the creditor's meeting, plus $75.00 per amendment
and $75.00 per suggestion of bankruptcy; the only compensation which has been received from
the debtor(s) or any other person on said account is $1,500.00; and the source of the
compensation paid is the debtor(s).

3. The undersigned further states that no understanding or agreement exists for a division of
fees or compensation between the undersigned and any other person or entity, except as allowed

by law.
EDWARD R. atk

MILLER AND HOLLANDER
2430 Shadowlawn Drive Ste. 18
Naples, FL 347112

Telephone 239-775-2000

Fax: 239-775-7953

Fiorida Bar # 182746
